Case 2:11-md-012%HE7DM%BOC§%QM 04/10/98 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: DIET DRUGS (PHENTERIFNE§/ L § §§
: M

FENFLURAMINE/DESFENFLURAMINE
PRODUCTS LIABILITY LITIGATIOHPR 10 hgq
- . §§

DOCKET NO. 1203

 

 

THIS DocUMENT RELATES To: l:”""' "'e"\

SHARON PEREZ and JOSEPH PEREZ : CIVIL ACTION
V .
SHIRE RICHWOOD, INC., et al. : NO. 98-20026

 

PRETRIAL ORDER NO. 3 3

AND NOW, TO WIT, this 6H4$ day of April, 1998,
presently before the court is'a Joint Stipulation of Dismissal
wherein plaintiffs and Ion Laboratories, Inc. by their counsel
seek the court’s approval of this Joint Stipulation. For the
reasons provided for in Fed. R. Civ. P. 23(e) the Motion is

DENIED.

 

..LOUIS c. BECHTLE,---U--_--...

 

